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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY


 ______________________________________
 ROBERT GRAY, and MAKRUM GEORGE,             : Civil Action No. 2:13-cv-3417(WJM)(MF)
 individually, and on behalf of a class of   :
 similarly situated individuals,             :
                                             :
                                 Plaintiffs, :
                                             :
                         v.                  :
                                             :
 BMW OF NORTH AMERICA, LLC, and              :
 BAYERISCHE MOTOREN WERKE                    :
 AKTIENGESELLSCHAFT,                         :
                                             :
                                 Defendants. :
                                             :
 ______________________________________ :




 ---------------------------------------------------------------------------------------------------------------------
                               DEFENDANTS’ BRIEF IN RESPONSE TO
                             PLAINTIFFS’ MOTION FOR APPROVAL OF
                    ATTORNEYS’ FEES, COSTS, AND INCENTIVE AWARDS
 ---------------------------------------------------------------------------------------------------------------------



                                                           Rosemary J. Bruno
                                                           Christopher J. Dalton
                                                           Daniel Z. Rivlin
                                                           BUCHANAN INGERSOLL & ROONEY PC
                                                           Incorporated in Pennsylvania
                                                           550 Broad Street, Suite 810
                                                           Newark, New Jersey 07102
                                                           973-273-9800
                                                           Attorneys for Defendants,
                                                            BMW of North America, LLC and
                                                            Bayerische Motoren Werke Aktiengesellschaft




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                                 PRELIMINARY STATEMENT

        Defendants, BMW of North America, LLC (“BMW NA”) and Bayerische Motoren

 Werke Aktiengesellschaft (“BMW AG”), oppose the fee application submitted by Class Counsel.

        The Parties negotiated a Settlement Agreement that delivers specific relief to members of

 the Settlement Class. That relief includes a software update for all Class Members, and a claims

 process for Class Members to submit claims for reimbursement of certain previously incurred

 repair costs. No fund is created. No amount is guaranteed to be paid out in claims.

        The Settlement Agreement sets a “low - high” range for attorneys’ fees, costs and

 expenses. Defendants agreed not to object to a fee application for up to $944,000, and Plaintiffs

 agreed not to seek more than $1,869,000. Fees and costs will be paid by Defendants to Class

 Counsel “without reducing the relief being made available to Class members,” and “will be paid

 separate and apart from any relief provided to the Class.” (DE 66-2, Settlement Agreement,

 Section IV. E.4. and Section VIII.B.). Defendants reserved the right to object to any application

 over $944,000. (DE 66-2, Settlement Agreement, Section VIII. B.). Plaintiffs now ask this

 Court to award them the highest amount they could possibly collect. Defendants oppose any

 award above $944,000.

        Plaintiffs’ fee motion is based on an erroneous characterization of this “claims-made”

 settlement as creating a “common fund.” There is no fund. Therefore, Class Counsel’s use of

 percentage of the common-fund as a measure for recovery is wrong.

        Rather, Class Counsel’s fee application should be determined using the lodestar method.

 But Class Counsel gives this Court a few pages of conclusory and summary information about

 the time they claim to have spent litigating the case over the last four years. The information is

 insufficient to allow the Court to make the required evaluation of the reasonableness of the fees
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 sought.

           Finally, the “expert report” of Kirk D. Kleckner is little more than an ex post facto effort

 to justify Class Counsel’s attempt to obtain the maximum possible fee under the Settlement

 Agreement.

                                         LEGAL ARGUMENT

                                                  Point I

                                This Is A Claims-Made Settlement.
                       Fees Should Be Awarded Under The Lodestar Method.


           Plaintiffs incorrectly characterize the settlement as a “common fund” settlement. They

 are equally wrong in proposing that fees should be calculated under a percentage of recovery

 method. (DE 77-1 at p.3).

           As clearly set forth in the Settlement Agreement, relief is being provided to Class

 Members in two ways. First, Class Members may schedule an appointment with a BMW Center

 for installation of updated software at no cost to the Class Member. (DE 66-2, Settlement

 Agreement, Section III.A.) Second, Class Members may be reimbursed for out-of-pocket

 expenses incurred for repairs upon submitting a claim with appropriate documentation. (DE

 66-2, Settlement Agreement III.B.). Defendants have committed no minimum amount for

 payment of claims, nor is there any maximum amount that Defendants will pay to Class

 Members for out-of-pocket claims. No fund has been set aside or created. As this Court has

 stated, “settlement with an indefinite total value and no upper cap on relief” is a claims-made

 settlement. McLennan v LG Electronics USA, Inc., No. 2:10-cv-03604 (WJM), 2012 WL

 686020 (D.N.J. Mar. 2, 2012). In a claims-made settlement, the lodestar method is the

 appropriate method for the Court to apply in evaluating an application for attorneys’ fees. Id.




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          In addition, the lodestar method is appropriate here because plaintiffs’ claims were

 brought under fee-shifting statutes, the California Consumer Legal Remedies Act, California

 Civil Code §1750 et seq., and California’s Unfair Competition Law, California Business &

 Professions Code § 17200 et seq. (Corrected First Amended Complaint, Counts V and VI). The

 appropriate method for determining an award of attorneys’ fees in a statutory fee-shifting action

 is the lodestar method. AmeriSoft Corp. Sec. Litig., 210 F.R.D. 109, 128 (D.N.J. 2002). As

 plaintiffs’ own brief recites, “The lodestar method … is more typically applied in statutory fee-

 shifting cases.” (DE 77-1 at p.4)(citing inter alia, In re Diet Drugs, 582 F.2d 524, 540 (3d Cir.

 2009).

                                               Point II

               Plaintiffs’ Submissions Are Inadequate To Allow The Court To
          Determine Whether The Hours Expended Were Reasonable And Necessary.

          Class Counsel submitted nothing more than summary charts to support their present fee

 application. (DE 77-2 at p.11, ¶ 41; DE 77-3 at p.17; DE 77-4 at p.5). That is insufficient.

 Nothing is provided by way of detailing in any definite way who did what. No dates are

 provided to inform the Court when something was done. No information is submitted showing

 how much time was devoted to any specific activity on any specific date by any specific person

 at any specific rate. Indeed, no dates are provided at all, no tasks are described except in the

 broadest terms -- such as “Pre-filing investigation and pleadings,” “Post-filing investigation,”

 “discovery,” “research,” and “Motions.” Without specifics -- names, dates, tasks, time

 expended, rates -- there is no way for the Court to determine whether the work was or was not

 necessary, was or was not duplicative, or was or was not appropriate. In the real world, no client

 would accept such a summary recitation and no attorney would expect to be paid in full based on




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 the summary charts submitted to this Court.1

        A fee application seeking compensation must document the hours for which payment is

 sought “with sufficient specificity.” Keenan v. City of Philadelphia, 983 F.2d 459, 472 (3d Cir.

 1992). The application must be “specific enough to allow the district court to ‘determine if the

 hours claimed are unreasonable for the work performed.’” Rode v. Dellarciprete, 892 F.2d 1177,

 1190 (3d Cir. 1988) (quoting Pawlak v. Greenawalt, 713 F.2d 972, 978 (3d Cir. 1983)).

        “A lodestar award is calculated by multiplying the number of hours [the attorney]

 reasonably worked on a client’s case by a reasonable hourly billing rate for such services given

 the geographical area, the nature of the services provided, and the experience of the lawyer.” Oh

 v. AT & T Corp., 225 F.R.D. 142, 153 (D.N.J. 2004). However, “[h]ours that are ‘excessive,

 redundant, or otherwise unnecessary’ are not reasonably expended on the litigation and must be

 excluded from the lodestar calculation.” Port Drivers Federation 18, Inc. v. All Saints, 2011 WL

 3610100, at *1 (D.N.J. Aug. 16, 2011) (quoting Pennsylvania Environmental Defense Fund v.

 Canon–McMillan School District, 152 F.3d 228, 231 (3d Cir. 1998)).

        Ultimately, the documentation submitted must provide enough information as to what

 hours were spent and on what activities and by whom in order to determine if the fees sought are

 reasonable. In Rode, the Third Circuit found documentation in which each time entry provided

 the general nature of the activity, the subject matter of the activity (where possible), the date of

 the activity, and the amount of time worked on the activity to be sufficient:

                Appellants submitted a computer-generated time sheet for each
                attorney, paralegal and law clerk who worked on the case. In each
                instance, the time sheet was in chronological order. Each entry
                provided the general nature of the activity and the subject matter of

 1
  Legend has it that attorneys used to submit annual bills to clients with little more than “for
 services rendered.” If ever those days existed, they are long gone. Most certainly in the context
 of a contested fee application in a class-action settlement.


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                the activity where possible, e.g., T (Dusman); CF (client); R (re
                appeals), the date the activity took place and the amount of time
                worked on the activity. In some instances, appellants aggregated
                the work in a day on various activities. Lastly, appellants, from
                October, 1985 to February, 1987, submitted monthly time reports
                to the district court. These reports were very specific and did not
                include the abbreviations which the district court had difficulty
                interpreting. These various submissions provided enough
                information as to what hours were devoted to various activities and
                by whom for the district court to determine if the claimed fees are
                reasonable.

 892 F.2d at 1191 (footnotes omitted).

        In Washington v. Phila. Cnty. Court of Common Pleas, 89 F.3d 1031, 1037 (3d Cir.

 1996), the Third Circuit found that documentation was sufficient under the Rode standard

 because the submission provided enough information to determine if the fees claimed were

 reasonable. Id. at 1038. The court suggested that fee applications with words such as “review,”

 “research,” “prepare,” “letter to,” and “conference with” are acceptable, so long as they provide

 enough information as to what hours were devoted to various activities and by whom. Id. (citing

 Rode, 892 F.2d at 1191).

        Other examples of acceptable supporting documentation include:

               Time entries for bills consisting of almost 60 pages chronologically listing
                the dates when the work was performed, the initials of the individual
                attorney or staff that performed the work, the nature of the work, the time
                spent on the work, the hourly rate charged, and the total billable cost for
                each time entry was sufficient. Neena S. v. Sch. Dist. of Philadelphia,
                2009 WL 2245066, at *4 (E.D. Pa. July 27, 2009).

               A 50 page document chronologically listing the dates when the work was
                performed, the initials of the attorney performing the work, the time spent
                by each attorney on each task, and a brief description of the work
                performed was found to be sufficiently specific. Mary Courtney T. v. Sch.
                Dist. of Phila., 2009 WL 185426, at *3-4 (E.D. Pa. Jan. 22, 2009), aff'd in
                part, rev'd in part sub nom. Mary T. v. Sch. Dist. of Phila., 575 F.3d 235
                (3d Cir. 2009).

               Plaintiffs’ itemized, chronological list of “the dates when the work was
                performed, the nature of the work, the time spent by individual attorney or


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                staff, the hourly rate charged, and the total billable cost for that time
                entry” was sufficiently specific. Damian J. v. Sch. Dist. of Phila., 2008
                WL 1815302, at *4 (E.D. Pa. Apr. 22, 2008).

               Summaries showing the daily activities of attorneys and paralegals, with
                one summary in chronological order with the date, time expended, and a
                general description of the activities provided by each attorney, and a
                second summary with attorneys’ time spent in various general activities
                such as arbitration, pretrial preparation, and trial, met the specificity
                standard. Keenan v. City of Philadelphia, 983 F.2d 459, 473 (3d Cir.
                1992). However, a separate portion of the fee application for an attorney’s
                hours from 1987-1989 which only included monthly cumulative hours was
                found to be insufficiently specific. Id. at 473-74.

 Thus, the critical inquiry is whether the materials submitted contain enough specificity to permit

 the court to determine whether the “‘the hours claimed are unreasonable for the work

 performed.’” Rode 845 F.2d at 1190 (quoting Pawlak, 713 F.2d at 978).

        Consistent with Third Circuit case law, the District of New Jersey has adopted a local

 rule governing applications for attorneys’ fees, costs, and expenses. See L. Civ. R. 54.2. That

 rule provides, in relevant part, that the affidavits or other documents supporting a fee application

 must include the following:

        (1)     the nature of the services rendered, the amount of the estate or fund in
                court, if any, the responsibility assumed, the results obtained, any
                particular novelty or difficulty about the matter, and other factors pertinent
                to the evaluation of the services rendered;
        (2)     a record of the dates of services rendered;
        (3)     a description of the services rendered on each of such dates by each person
                of that firm including the identity of the person rendering the service and a
                brief description of that person’s professional experience;
        (4)     the time spent in the rendering of each of such services; and
        (5)     the normal billing rate for each of said persons for the type of work
                performed.

 L. Civ. R. 54.2(a). The rule further provides that “[c]omputerized time sheets, to the extent that

 they reflect the above, may be utilized and attached to any such affidavit or other document

 showing the time units expended. Reimbursement for actual, not estimated, expenses may be

 granted if properly itemized.” Ibid.


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          Class Counsel’s submissions in the present case do not provide the specific information

 required under Third Circuit case law and this District’s local rules. Rather, the documentation

 submitted by Plaintiffs’ attorneys is merely a summary (for four-years’ work) consisting of: (1)

 the name and title of the person performing the task; (2) the general category of work; (3) the

 total number of hours spent performing each category of work (as one number for the entire four

 years); and (4) the total billable amount for the work performed in each category. The

 documentation does not include the dates when each task was performed, the amount of time

 spent on each task, or any indication of what the task was.

          Class Counsel’s submissions provide no detail about what was actually done, by whom,

 or when. For example, Counsel seek fees for “post-filing investigation and discovery” totaling

 424.3 hours spread across 10 timekeepers ranging from 2.7 hours to 221.5 hours – yet there is

 simply no explanation of what was done, by whom, when, or for how long across those 424.5

 hours.

          It is up to the Court to determine whether the “work performed was reasonable.” But

 Plaintiffs have given the Court nothing upon which to make that determination.

                                               Point III

                The Kleckner Declaration Is Based Upon Incorrect Assumptions,
                Mistaken Facts, And Inflated Statistics, It Should Be Disregarded.

          To substantiate their otherwise defective and unjustifiable request for the highest possible

 amount of fees under the Parties’ “low-high” agreement, Plaintiffs rely upon the “expert report”

 of Kirk D. Kleckner dated June 22, 2017 (the “Kleckner Report” DE 77-5). That reliance is

 misplaced. The Kleckner Report ignores relevant and readily accessible facts, makes

 unsubstantiated assumptions, and fails to identify (let alone provide) the support allegedly relied

 upon. Plaintiffs’ expert’s valuation of the settlement at $8.6 million conveniently makes the



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 $1.869 million fee request appear to be merely 20% of the (non-existent) common fund. Given

 the problems with the Kleckner Report, one can only conclude it is a thinly veiled attempt to

 back into fees at the “high” end of the parties’ agreement.

         Assuming the Court considers this a common fund settlement, which it is not, Kleckner’ s

 valuation is overstated and wrong for several reasons.

                A.      Kleckner Overestimates The Number Of Class Vehicles
                        On The Road That May Need The Benefits Of The Settlement.

         First, by completely ignoring the fact that 37% of the 30,344 potential class vehicles were

 already repaired by BMW before this settlement was reached, Kleckner bloats his valuation of

 settlement benefits.

         This fact is crucial in that Kleckner’s calculations are based on what he believes are all

 class vehicles remaining on the road. Kleckner claims 21,976 class vehicles of the 30,344 total

 vehicles originally in the class remain on the road. He does not say how he reached this

 number.2 Kleckner fails to account for the fact that of the vehicles remaining on the road, some

 of these vehicles were already repaired. If the 37% repair rate is applied to the 21,976 class

 vehicles Kleckner says are still in service, the number of cars potentially needing repair is


         2
            Kleckner also fails to provide the support for his claimed calculations of the remaining
  class vehicles on the road to begin with. He generally references “data” from the National
  Highway Traffic Safety Administration (NHTSA), however, he neither specifies what data he
  used nor references the NHTSA report he relied upon. Where “an expert opinion is based on
  data, a methodology, or studies that are simply inadequate to support the conclusions reached,
  Daubert and Rule 702 mandate the exclusion of that unreliable opinion testimony.” Amorgianos
  v. Nat’l R.R. Passenger Corp., 303 F.3d 256, 266 (2d Cir. 2002); Ellis v. Costco Wholesale
  Corp., 657 F.3d 970, 982 (9th Cir. 2011) (same). “It is not enough for a witness to tell all she
  knows; she must know all she tells.” Carmen v. S.F. Unified School Dist., 237 F.3d 1026, 1028
  (9th Cir. 2001). The trial court must examine proffered expert testimony for reliability and must
  determine whether there exists any “objective, verifiable evidence that the testimony is based on
  ‘scientifically valid principles.’” Daubert II, 43 F.3d 1311, 1317-18 (9th Cir. 1995). Here, in
  failing to provide or even reference the specific “data” he utilized, Kleckner failed to meet the
  established requirements for expert testimony.

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 reduced by 8,131 class vehicles. Accordingly, that would mean 13,845 (not 21,976) class

 vehicles remaining on the road could possibly need the relief provided under the settlement.

           Using the appropriately adjusted remaining class vehicles on the road (13,845), and

 accepting for present purposes the remainder of Kleckner’s assumptions and calculations,

 Kleckner’s own calculation of value to the class is reduced by over $2,321,000, from $8,510,000

 to $6,188,298. Using Plaintiffs’ own improper “common fund” fee calculation of 20.8%, the

 highest award of fees would be $1,287,165.98. But even that number, as set forth below, would

 be too high.

                  B.     Plaintiffs’ Calculation Double-Counts Certain Settlement Benefits.

           The Kleckner Report places a dollar value on an “extended warranty” provided with the

 free software upgrade (Ex. E to Kleckner Report). But this is essentially double-counting:

 Plaintiffs are attempting to include in the valuation both the cost to BMW of installing the

 warranted software upgrade ($70.15) plus what the expert speculates class members might have

 paid for a hypothetical extended warranty ($21.28) in the event the software upgrade didn’t

 work. But there is no need for class members to purchase an extended warranty when BMW is

 warranting the upgraded software. By assigning separate values to the warranted software

 upgrade and also to a hypothetical extended warranty, Kleckner is counting twice for the same

 relief.

           After removing the bogus “extended warranty” calculation from Kleckner’s calculation,

 the corrected “value” of the benefits under the settlement would be $5,893,678.

           Then again using Plaintiffs’ own improper “common fund” fee calculation of 20.8% to

 the corrected number, the highest award of fees would be $1,225,885. That amount of fees

 would still be too high.




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                C.      Not Every Class Vehicle Remaining On The Road Will Need
                        The Benefit Of The Settlement, Nor Need It More Than Once.

        Next, Kleckner assumes that each vehicle will have 2 to 3 owners over the course of its

 useful life and then further assumes that each and every owner in the chain will incur a separate

 repair expense associated with the class vehicles, as opposed to the potential that every vehicle

 might incur a repair. This results in the number of repairs doubling or tripling – and, with that,

 the “value” to the Class.

        Even accepting the number of vehicles Kleckner believes are still on the road (21,976),

 and applying the actual claim experience3 prior to the settlement, the reasonable settlement value

 further declines:

 Potential Claims from Remaining Class Vehicles on the Road (Plaintiff's Estimate 21,976)
   Repair Type       % of Remaining Class        Number of Cost per            Total
                     Vehicles Still on the Road  Vehicles     repair
 Adjust Sensor       9.50%                             2088         $168.36        $351,488.54
 Replace Sensor      27.01%                            5936         $247.93        $1,471,642.46
 Replace Top         0.47%                             103          $10,229.93     $1,056,620.83
                                                                                   $2,879,751.83

        That number is even further reduced to approximately $1.8 million, when using the

 correct number of class vehicles remaining on the road that may still need a repair (13,845 not

 21,976):

 Potential Claims from Remaining Class Vehicles on the Road (13,845)
   Repair Type       % of Remaining Class        Number of Cost per                Total
                     Vehicles Still on the Road  Vehicles     repair
 Adjust Sensor       9.50%                             1,315        $168.36        $221,393.40
 Replace Sensor      27.01%                            3,740        $247.93        $927,258.20
 Replace Top         0.47%                             65           $10,229.93     $669,495.45
                                                                                   $1,818,693.45


 3
  The repair percentages contained herein are based upon the respective percentages of repairs
 made by BMW to Class Vehicles prior to settlement.


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        Using the corrected amounts4, the “value” to the class would be between $2,789,920 and

 $3,850,978. Then again applying Plaintiffs’ improper “common fund” fee calculation of 20.8%

 to the corrected numbers, the highest award of fees would be between $580,303 and $801,003.

 But even using that range would be incorrect.

                D.      Only 2,315 Claims For Reimbursement Had Been Submitted
                        When Plaintiffs’ “Expert Report” Was Prepared.

        Finally, Kleckner’s calculation assumes 100% of the class will make a claim. That is

 wrong. As of the date Kleckner signed his Declaration, it was already known that as of the close

 of the claims-submission period some 2,315 Class Members had submitted claims5. Applying

 Kleckner’s $355.54 average repair cost to the claims actually submitted results in a value of

 $823,075.10 to the Class. Then, even applying Kleckner’s unsubstantiated “estimated markup”

 of 25% to 40% for consumer repairs versus Original Equipment Manufacturer warranty costs,

 the value of repair reimbursement would be between $1,028,843.80 and $1,152,305, not

 Kleckner’s artificially and purposefully inflated value of $6,500,000. The total “value” would

 then be between $2,000,070 and $2,123,5324.

        Applying Plaintiffs’ improper “common fund” fee calculation of 20.8% to the corrected

 numbers the highest award of fees would be between $416,015 and $441,6956.

                                                 ***

        In examining the Kleckner Report, it becomes clear that the numbers used and “value

 estimate” calculated therefrom are little more than an attempt to justify seeking the “high” of the


 4
   Adding the $971,227 ($70.15 x 13,845) value for the software to the reimbursement amounts.
 5
   See, Exhibit A to Rivlin Declaration.
 6
   As of July 5, 2017, a total of 2,492 claims were timely filed. An additional 57 claims were
 untimely filed. See, Exhibit B to Rivlin Declaration. Using all timely filed claims the total
 “value” would be between $2,063,001 and $2,186,463 and applying Plaintiffs’ improper
 “common fund” fee calculation of 20.8%, the fee award should be between $429,104 and
 $454,784.


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 “low-high” fee range.

        Class Counsel’s actual claimed fees ($752,307.50) -- though inadequately documented --

 are less than the agreed-upon “low” ($944,000). Appropriately valued, the settlement benefits

 are between $2 million and $4 million, and the stipulated $944,000 fee is more than fair and

 adequate compensation to class counsel.

        Class Counsel’s request for an award of fees of $1,869,000 must be denied. The Court

 should award no more than the $944,000 which Defendants agreed to pay without objection.




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                                         CONCLUSION

        Without doubt litigation is costly and unpredictable – for both plaintiffs and defendants.

 Both sides here have incurred substantial costs and taken significant risks. Our Rules and case

 law allow for an award of fees to class counsel, but the Rules and case law require a certain

 showing to be made by class counsel to substantiate and justify the quantum of the award. That

 required showing has not been made here. Plaintiffs have failed to support or justify their

 application to be compensated (for fees, costs, and expenses) at a level above that which

 Defendants have agreed to compensate them. Accordingly, the Court should reject Plaintiffs’

 efforts to obtain compensation above the $944,000 to which Defendants agreed.




                                           Respectfully submitted,

                                           BUCHANAN INGERSOLL & ROONEY PC




                                           By /s/ Daniel Z. Rivlin
                                                 ROSEMARY J. BRUNO
                                                 CHRISTOPHER J. DALTON
                                                 DANIEL Z. RIVLIN
                                                  Attorneys for Defendants
                                                  BMW of North America, LLC and
                                                  Bayerische Motoren Werke Aktiengesellschaft
 Dated: July 6, 2017




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